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   8                       UNITED STATES DISTRICT COURT
   9                     CENTRAL DISTRICT OF CALIFORNIA
  10 NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRx
     INC., a California Corporation,
  11
                                              ORDER CONTINUING STATUS
  12              Plaintiff,                  CONFERENCE
  13
            v.
  14                                          The Hon. Christina A. Snyder
     INTERFOCUS, INC. d.b.a.
  15
     www.patpat.com, a Delaware
  16 Corporation; CAN WANG, and
     individual, and DOES 1-10, inclusive.,
  17
  18              Defendants.
  19 INTERFOCUS, INC. d.b.a.
     www.patpat.com, a Delaware
  20 Corporation; CAN WANG, an
  21 individual, and DOES 1-10, inclusive,
  22              Counterclaim Plaintiffs,
  23
            v.
  24
  25 NEMAN BROTHERS & ASSOC.,
     INC., a California Corporation,
  26
  27              Counterclaim Defendant.

  28
          [PROPOSED] ORDER CONTINUING LIMITED DISCOVERY PERIOD AND STATUS
                                    CONFERENCE
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   1        The Court having considered the Joint application to continue the period for
   2 limited discovery and the Status Conference previously noticed for July 11, 2022,
   3 and being fully advised in the premises,
   4        IT IS ORDERED that the status conference previously ordered in this action
   5 to take place on July 11, 2022 at 11:00 a.m. is continued to August 15, 2022 at
   6 11:00 a.m. The time in which Defendants may conduct limited discovery previously
   7 authorized by the Court and currently pending between the parties is concurrently
   8 continued to August 15, 2022.
   9 Dated: June 23, 2022
  10                                        ___                            _______
  11                                        The Honorable Christina A. Snyder
                                            United States District Judge
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          [PROPOSED] ORDER CONTINUING LIMITED DISCOVERY PERIOD AND STATUS
                                    CONFERENCE
